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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF ARKANSAS
                                HARRISON DIVISION

DAWN GUTERMAN,                               )
                                             )
                       Plaintiff,            )         3:17-cv-03051-TLB
                                             )
       v.                                    )         Judge Brooks
                                             )
PROFESSIONAL CREDIT                          )
MANAGEMENT, INC.,                            )
                                             )
                       Defendant.            )

                      STIPULATION TO DISMISS WITH PREJUDICE

       By agreement, the parties to the above-captioned action, by and through their respective

attorneys, state as follows:

       1.      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

               parties hereby stipulate and agree that the above-captioned action should be

               dismissed.

       2.      The parties, by agreement, respectfully request that this case be dismissed with

               prejudice and without costs to any party.

Date: January 26, 2018

For Plaintiff,                                       For Defendant,
Dawn Guterman                                        Professional Credit Management, Inc.

/s David M. Marco                                      /s with consent R. Bryant Marshall
David M. Marco                                       R. Bryant Marshall
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